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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
DICK ANTHONY HELLER, et al.          )
                                     )
                  Plaintiffs,        )
                                     )
      v.                             )     Civil Action No. 03-0213 (EGS)
                                     )
DISTRICT OF COLUMBIA, et al.,        )
                                     )
                  Defendants.        )
____________________________________)

                                   NOTICE OF APPEAL

       Notice is hereby given this 23rd day of February, 2012, that Defendants hereby appeal to

the United States Court of Appeals for the District of Columbia Circuit from the original and

amended final orders and judgments of this Court (Sullivan, J.) awarding attorney fees and costs

to plaintiffs, entered in this action on the 29th day of December, 2011 (Docket No. 85), and the

25th day of January, 2012 (Docket No. 91), and from any and all orders merged therein.



DATE: February 23, 2012             Respectfully submitted,

                                    IRVIN B. NATHAN
                                    Attorney General for the District of Columbia

                                    GEORGE C. VALENTINE
                                    Deputy Attorney General, Civil Litigation Division

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